Case 1:05-cr-00257-MR-DLH   Document 87   Filed 09/05/06   Page 1 of 6
Case 1:05-cr-00257-MR-DLH   Document 87   Filed 09/05/06   Page 2 of 6
Case 1:05-cr-00257-MR-DLH   Document 87   Filed 09/05/06   Page 3 of 6
Case 1:05-cr-00257-MR-DLH   Document 87   Filed 09/05/06   Page 4 of 6
Case 1:05-cr-00257-MR-DLH   Document 87   Filed 09/05/06   Page 5 of 6
Case 1:05-cr-00257-MR-DLH   Document 87   Filed 09/05/06   Page 6 of 6
